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PROB 12C                                                                           Report Date: November 3, 2015
(7/93)

                                       United States District Court

                                                      for the

                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision

 Name of Offender: Angel N. Lyons                           Case Number: 2:14CR00168-TOR-19
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Date of Original Sentence: August 31, 2015
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:       Prison - 5 days                   Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     George J. C. Jacobs, III          Date Supervision Commenced: September 6, 2015
 Defense Attorney:        Federal Defender’s Office         Date Supervision Expires: September 5, 2018

                                         PETITIONING THE COURT

                To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:
 Violation Number       Nature of Noncompliance

           1            Standard Condition # 3: The defendant shall answer truthfully all inquiries by the
                        probation officer and follow the instructions of the probation officer.

                        Supporting Evidence: Angel Lyons violated the terms of her supervised release in Spokane,
                        Washington, on or about September 21, 2015.

                        On September 11, 2015, Ms. Lyons reported to the U.S. Probation Office for her supervision
                        intake, at which time the conditions of her release and supervision were reviewed with her.
                        She reported residing at St. Margaret’s Shelter located on East Hartson, in Spokane.

                        On or about September 21, 2015, Ms. Lyons indicated that she had no change in residence,
                        when she had in fact changed residences on or about September 18, 2015.
           2            Standard Condition # 6: The defendant shall notify the probation officer at least ten days
                        prior to any change in residence or employment.

                        Supporting Evidence: Angel Lyons violated the terms of her supervised release in Spokane,
                        Washington, on or about September 17, 2015.

                        On or about October 17, 2015, the offender changed her residence and failed to report it to
                        her U.S. probation officer at least ten days prior to the change.
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          3      Standard Condition # 11: The defendant shall notify the probation officer within seventy-
                 two hours of being arrested or questioned by a law enforcement officer.

                 Supporting Evidence: Angel Lyons violated the terms of her supervised release in Spokane,
                 Washington, on or about September 18, 2015.

                 The offender had law enforcement contact on or about September 18, 2015, and failed to
                 report it to her U.S. probation officer within 72 hours.
          4      Special Condition # 14: You shall abstain from alcohol and shall submit to testing
                 (including urinalysis and Breathalyzer), as directed by the supervising officer, but no more
                 than six tests per month, in order to confirm continued abstinence from this substance.

                 Supporting Evidence: Angel Lyons violated the terms of her supervised release in Spokane,
                 Washington, on or about October 19, 2015.

                 On October 19, 2015, Ms. Lyons failed to appear for random drug testing at Alcohol Drug
                 Education Prevention and Treatment (ADEPT).
          5      Special Condition # 19: You shall abstain from the use of illegal controlled substances, and
                 shall submit to urinalysis testing, as directed by the supervising officer, but no more than six
                 tests per month, in order to confirm continued abstinence from these substances.

                 Supporting Evidence: Angel Lyons violated the terms of her supervised release in Spokane,
                 Washington, on or about October 19, 2015.

                 On October 19, 2015, Ms. Lyons failed to appear for random drug testing at Alcohol Drug
                 Education Prevention and Treatment (ADEPT).
          6      Standard Condition # 2: The defendant shall report to the probation officer in a manner and
                 frequency directed by the court or probation officer.

                 Supporting Evidence: Angel Lyons violated the terms of her supervised release in Spokane,
                 Washington, on or about October 21, 22, and 26, 2015.

                 On October 20, 2015, the undersigned officer attempted to contact the offender on her
                 cellular phone, but was not able to leave a message. The undersigned then left a message
                 on her husband’s phone directing her to report the next day by 10:00 a.m. Mr. Lyons
                 returned the call and advised he would be with Ms. Lyons that evening, and would give her
                 the message. The offender failed to report on October 21, 2015.

                 On October 21, 2015, the undersigned officer again attempted to contact the offender on her
                 cellular phone and was still unable to leave a message. Therefore, an additional message
                 was left on Mr. Lyons’ phone directing the offender to report on October 22, 2015. Ms.
                 Lyons failed to report on October 22, 2015.

                 On October 23, 2015, the undersigned officer attempted to contact the offender at her
                 reported residence. Her most recent reported residence is that of her daughter’s, and her
                 daughter’s boyfriend. The boyfriend answered the door after several knocks. He advised
                 the offender still lived there, and that she had just left to drop her child off at school. I asked
                 the boyfriend to have the offender call me when she returned, and also provided him with
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                      the undersigned’s business card to provide to her. The business card included written
                      directives for the offender to report to the probation office on October 26, 2015. Ms. Lyons
                      failed to report on October 26, 2015, and has made no other attempts to make contact.
          7           Standard Condition # 6: The defendant shall notify the probation officer at least ten days
                      prior to any change in residence or employment.

                      Supporting Evidence: Angel Lyons violated the terms of her supervised release in Spokane,
                      Washington, on or about October 14, 2015.

                      At the time of Ms. Lyons’ supervision intake, she reported being self-employed as a dog
                      groomer, and was renting a space at Custom Canine.

                      On October 28, 2015, the owner of Custom Canine was contacted. She advised that the
                      offender had not reported to work for 2 weeks. She indicated the offender had advised her
                      approximately 2 weeks prior that she would need to secure full-time employment as she was
                      not making enough money to support herself. The owner had not heard from or seen Ms.
                      Lyons since that time.
          8           Mandatory Condition # 6: If this judgment imposes a fine or a restitution obligation, it
                      shall be a condition of supervised release that the defendant pay any such fine or restitution
                      that remains unpaid at the commencement of the term of supervised release in accordance
                      with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this
                      judgment.

                      Supporting Evidence: Angel Lyons violated the terms of her supervised release in Spokane,
                      Washington, on or about October 15, 2015.

                      Ms. Lyons failed to make a payment toward her criminal monetary penalties by October 15,
                      2015.

The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the offender to
answer to the allegations contained in this petition.

                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:      11/03/2015
                                                                             s/Melissa Hanson
                                                                             Melissa Hanson
                                                                             U.S. Probation Officer

 THE COURT ORDERS
 [ ] No Action
 [X ] The Issuance of a Warrant
 [ ] The Issuance of a Summons
                                                                             Signature of Judicial Officer
                                                                            November 3, 2015
                                                                             Date
